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 9

10

11                                 UNITED STATES DISTRICT COURT

12                                 EASTERN DISTRICT OF CALIFORNIA

13                                     SACRAMENTO DIVISION

14

15 INTEL CORPORATION,                             Case No. 2:18-cv-03061-MCE-AC

16                    Plaintiff,                  REPLY IN SUPPORT OF PLAINTIFF
                                                  INTEL CORPORATION’S EX PARTE
17              vs.                               APPLICATION FOR LEAVE TO
                                                  CONDUCT EXPEDITED DISCOVERY
18 DOYLE RIVERS, an individual, and DOES 1
   through 10, inclusive,                         (EXPEDITED CONSIDERATION
19                                                REQUESTED)
                  Defendants.
20

21                                                Judge:    Hon. Morrison C. England, Jr.
                                                  Date:     n/a
22                                                Time:     n/a
                                                  Crtrm.:   7
23

24

25

26

27

28
     40881244
      PLAINTIFF INTEL CORPORATION’S REPLY IN SUPPORT OF EX PARTE APPLICATION FOR LEAVE TO
                                CONDUCT EXPEDITED DISCOVERY
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 1                   Plaintiff Intel Corporation (“Intel”) submits this reply in support of its ex parte

 2 application for leave to conduct limited expedited discovery in support of its pending Motion for

 3 Preliminary Injunction. There is good cause under the facts shown and the relevant case law to

 4 order expedited discovery from Rivers and his new employer, Micron Technology.

 5              A.   Rivers Does Not Deny Misappropriation Nor Does He Provide Any Assurance
                     That Intel’s Concerns Are Misplaced
 6
                     Defendant Doyle Rivers (“Rivers”) admits to taking the compilation of employee
 7
     contact information and certain “sentimental” script programs, though he discounts the importance
 8
     of these files. Notably absent from Rivers’ opposition papers is any statement that he took no
 9
     other Intel confidential or proprietary documents. Rivers submitted a declaration under oath and
10
     had the opportunity to tell the Court that he did not misappropriate any trade secrets or breach his
11
     confidentiality agreement, but he did not refute Intel’s allegations. Instead, Rivers carefully states
12
     that he did not upload any confidential Intel documents to his Micron computer. See Rivers
13
     Declaration ¶ 25. He says nothing about his uploading of confidential Intel documents to his
14
     home computer (where he admits he attached the removable storage device with misappropriated
15
     files) or to other personal devices or accounts. He says nothing to explain Intel’s detailed
16
     evidence submitted in support of its Motion for a Preliminary Injunction showing that Rivers tried
17
     to download top secret documents when he first inserted the USB device into his Intel computer
18
     days before he left Intel. See Declaration of Michael Hanada In Support of Intel’s Motion for
19
     Preliminary Injunction, (“Hanada Decl.”), ECF No. 10-5, ¶ 6. He says nothing to explain what he
20
     was doing for an hour with the USB device from 10:40-11:40 p.m. the night before he resigned, or
21
     to explain the evidence that he accessed file folders containing highly sensitive Intel documents in
22
     a manner consistent with transferring them to the device (misappropriation that Intel cannot
23
     confirm without discovery because of Rivers’ destruction of evidence on the USB device). See
24
     Hanada Decl. ¶¶ 4, 7-9.
25
                     Rivers complains that this detailed testimony from Intel’s forensic expert is
26
     “speculation,” but does nothing to refute it. His silence speaks volumes. Rivers’ failure to explain
27
     the evidence and his carefully worded declaration that avoids addressing the implications of the
28
     40881244                                          -1-
      PLAINTIFF INTEL CORPORATION’S REPLY IN SUPPORT OF EX PARTE APPLICATION FOR LEAVE TO
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 1 evidence against him underscores the importance of expedited discovery so Intel can uncover the

 2 scope and nature of Rivers’ misappropriation.

 3                  Rivers’ repeated reassurance that he forensically imaged his home computer and

 4 “preserved the status quo” is not helpful, nor does it “moot” Intel’s request for inspection as

 5 Rivers claims. Forensically imaging his computer just means there is a backup copy; Rivers can

 6 still access and use whatever information is on that computer, including Intel’s confidential files—

 7 and that is the very harm Intel seeks to avoid. Moreover, if a forensic expert has imaged his home

 8 computer, why does Rivers not submit a declaration from that forensic expert that none of Intel’s

 9 files are on, or have ever been on, the home computer? And why does the forensic expert not put

10 in a declaration based on analysis of the home computer about what was on the USB device before

11 it was wiped from that computer, and information about when the USB device was wiped? Again,

12 Rivers’ silence speaks volumes and underscores the need for expedited discovery—discovery that

13 should be less burdensome since Rivers already has a forensic team in place. That forensic team

14 should be able to expeditiously run searches on the imaged computer for the narrow requests for

15 production and help produce any responsive documents from other personal accounts or devices.

16                  Rivers’ opposition also ignores the fact that he did not just delete the employee list

17 from the USB device, he wiped it, which destroyed evidence of what had once been stored on the

18 device. Hanada Decl. ¶¶ 8-13. Even when admitting that he deleted the compilation of employee
19 contact information (Rivers Decl. ¶ 18), Rivers omits any mention of the timing of that deletion;

20 he also says nothing about when or why he wiped the USB device—leaving the strong

21 presumption that he did so to cover his tracks after receiving the October 2 letter from Intel’s

22 counsel raising concerns and demanding the return of the device. Micron’s opposition is also

23 silent about Rivers’ wiping of the drive.

24                  Rivers and Micron incorrectly argue that Intel’s Complaint is about “past events”

25 and not future harm. Not so. Intel faces future harm if Rivers uses Intel’s confidential and trade

26 secret information still in his possession or if his use of it in the past will have continuing benefit

27 to him or to Micron. So long as the Intel files remain with Rivers, or if they already have been

28 shared with Micron, there is an ongoing risk of harm. Rivers says nothing in his opposition to
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 1 reassure Intel or this Court that he does not have, and has not and will not use, Intel’s valuable,

 2 trade-secret and confidential documents. The risk of harm is even more acute here given Rivers’

 3 prior actions destroying evidence to cover up wrongdoing.

 4              B.   Intel Still Has Confidential and Trade Secret Information Despite Its Joint
                     Venture with Micron
 5
                     Intel does not dispute it is in a joint venture with Micron for manufacturing 3D
 6
     XPoint. The Complaint clearly makes this allegation. The existence of a joint venture, however,
 7
     does not mean that joint venture information related to 3D XPoint is not confidential information
 8
     or that Rivers was somehow authorized to remove such information from Intel. Furthermore, the
 9
     joint venture concerns the manufacture of 3D XPoint chips. The joint venture does not extend to
10
     the products into which those chips are incorporated, and Intel and Micron do not share
11
     information regarding product technology, including Intel’s proprietary Optane™ products—
12
     products that Mr. Rivers worked on during his tenure at Intel. See Declaration of Kiran Pangal In
13
     Support of Intel’s Motion for Preliminary Injunction (“Pangal Decl.”), ECF No. 10-4, ¶¶ 8-11.
14
     Rivers acknowledges as much. See Rivers Decl. ¶ 6.
15
                     Moreover, Rivers identified information related to 3D XPoint and Optane™ in his
16
     Trade Secret Acknowledgement Form as Intel confidential information. Pangal Decl. Ex. A.
17
     Similarly, no one disputes that a compilation of information about Intel employees, their contact
18
     information, and the composition of Intel’s internal organizational structure is confidential and
19
     trade secret to Intel and not shared with Micron.
20
                C.   There Is No Trade Secret Disclosure Requirement for DTSA Claims In This
21                   Court, And In Any Event, Intel Disclosed Its Trade Secrets
22                   Rivers and Micron argue repeatedly in their oppositions that the Court should apply

23 Section 2019.210 of the California Code of Civil Procedure to this case and prohibit Intel from

24 taking any discovery at this juncture until it discloses its trade secrets with particularity. But

25 Section 2019.210 and precedent based on this Section are inapplicable here.

26                   First, Intel’s trade secret claim against Rivers is brought under the federal Defend

27 Trade Secrets Act (“DTSA”)—not under California state law. The DTSA lacks any provision

28 akin to Section 2019.210. Congress could have included such a requirement in the DTSA, but it
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 1 did not. The Court should reject Rivers’ invitation to override both the statute’s plain text and

 2 Congress’ apparent intent by imposing a pre-discovery disclosure requirement where Congress

 3 declined to do so. It is telling that none of the cases cited by Rivers or Micron imposes such a

 4 trade secret disclosure requirement as a threshold for discovery in the context of a DTSA claim. 1

 5                  Second, even as to claims brought under California’s trade secret law, courts in

 6 this District have frequently rejected the application of Section 2019.210 pursuant to the Erie

 7 doctrine. They have done so because any requirement that trade secrets be disclosed before

 8 discovery begins directly conflicts with the timing of discovery set out in the Federal Rules of

 9 Civil Procedure. As Judge Mueller stated in rejecting a request for a protective order akin to the

10 one sought here:

11                  The court finds persuasive the reasoning in Hilderman v. Enea
                    TekSci, Inc. . . . In Hilderman, the court observed that section
12                  2019.210 “conditions discovery regarding trade secrets on
                    plaintiff[’s] sufficiently identifying the trade secret,” with the
13                  potential for plaintiff’s being barred from discovery practice
                    otherwise allowed by the Federal Rules. . . . Absent the
14                  precondition imposed by section 2019.210, defendants are required
                    to provide meaningful responses to the discovery at issue.
15
                    ...
16
                    Given the conflict between the applicable federal and state rules, the
17                  federal rule applies unless it [is] outside the scope of the Rules
                    Enabling Act and unconstitutional. The Federal Rules are
18
                1
19           In fact, Rivers cites only a single case, Vendavo, Inc. v. Price f(x), that arises solely in
   the context of the DTSA. But Vendavo is wholly inapposite, as it concerned the pleading standard
20 required for a DTSA case to survive a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) and
   did not consider the timing of discovery under the DTSA. No. 17-cv-06930-RS, 2018 WL
21
   1456697, at *3 (N.D. Cal. Mar. 23, 2018). Moreover, Vendavo explicitly rejects the application of
22 Section 2019.210 in federal court at the pleading stage. See id. at n.3.
           The other California federal court cases on which Rivers relies—to the extent they
23
   consider pre-discovery disclosure at all—involve claims brought under California law and are thus
24 irrelevant here. See E. & J. Gallo Winery v. Instituut Voor Landbouw-En Visserijonderzoek, No.
   1:17-cv-00808-DAD-EPG, 2018 WL 3062160, at *2 (E.D. Cal. June 19, 2018) (claims brought
25 under the California Uniform Trade Secrets Act); Agency Solutions.Com, LLC v. TriZetto Grp.,
   Inc., 819 F. Supp. 2d 1001, 1012 (E.D. Cal. 2011); Applied Materials, Inc. v. Advanced Micro-
26 Fabrication Equip. (Shanghai) Co., No. C 07-5248 JW (PVT), 2008 WL 183520 (N.D. Cal. Jan.
   18, 2008) (same); Openwave Messaging, Inc. v. Open-Xchange, Inc., No. 16-cv-00253-WHO,
27
   2018 WL 2117424 (N.D. Cal. May 8, 2018) (requiring identification of trade secrets with
28 particularity at the summary judgment stage).
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 1                  presumptively constitutional and there has been no showing that
                    Rule 26 does not comply with the Rules Enabling Act. Section
 2                  2019.210 is inapplicable in this federal action and defendants’
                    objection on that basis is overruled.
 3
     AtPac, Inc. v. Aptitude Sols., Inc., No. CIV S-10-294 WBS KJM, 2010 WL 11571246, at *1 (E.D.
 4
     Cal. Sept. 22, 2010); see also Funcat Leisure Craft, Inc. v. Johnson Outdoors, Inc., No. CIV. S-
 5
     06-0533 GEB GGH, 2007 WL 273949, at *2 (E.D. Cal. Jan. 29, 2007) (Hollows, M.J.); Proven
 6
     Methods Seminars, LLC v. Am. Grants & Affordable Hous. Inst., No. CIV S-07-1588 WBS EFB,
 7
     2008 WL 282374, at *3-4 (E.D. Cal. Jan. 31, 2008) (Brennan, M.J.) (“Here, the court finds that
 8
     the Federal Rules of Civil Procedure govern discovery in this case. Applying state procedure is
 9
     inappropriate especially where, as here, it has the effect of imposing an otherwise unmandated
10
     sequence to discovery.”). 2 These decisions are correct—the state law pre-disclosure bar on
11
     discovery directly conflicts with the timing of discovery set forth in the Federal Rules of Civil
12
     Procedure—and are doubly persuasive here, where Intel proceeds under the federal DTSA, which
13
     imposes no pre-discovery disclosure requirement.
14
                    Even if a pre-discovery disclosure requirement were applicable here (it is not), Intel
15
     has met it by disclosing the trade secrets with reasonable particularity. Specifically, Intel provided
16
     a list of detailed categories of information as set forth by Rivers himself in his TSAF, categories
17
     that Rivers described as Intel trade secrets. Pangal Decl. Ex. A.
18
            D.      Intel Did Not Unnecessarily Delay Seeking Expedited Discovery
19
                    Much of Rivers’ opposition is spent complaining that Intel waited too long to seek
20
     expedited discovery. As Intel explained in its opening papers, Intel sought to work with Rivers
21
     and Micron prior to asking the Court for assistance. See Declaration of Carolyn Luedtke In
22
     Support of Intel’s Motion for Preliminary Injunction (“Luedtke Decl.”), ECF No. 10-2, ¶¶ 10-12
23
     (describing efforts to work with Rivers’ counsel); Hanada Decl. ¶ 16 (describing efforts to work
24

25
            2
            Likewise, this Court has rejected, on the basis of the Erie doctrine, the application of any
26 heightened pleading standard in federal court on the basis of Section 2019.210. Verma v. Okev,
   No. 2:13-CV-00865-MCE-EFB, 2013 WL 6887532, at *8 (E.D. Cal. Dec. 31, 2013) (England, J.)
27 (“Federal rules govern federal pleading standards. Erie R. Co. v. Tompkins, 304 U.S. 64 (1938).

28 Therefore, Defendants’ argument that this Court apply a heightened standard based on CUTSA is
   rejected.”).
   40881244                                         -5-
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 1 with Micron). Intel also tried to do its own internal investigation, but those efforts hit a wall

 2 because of the destruction of evidence on the USB device and Rivers’ refusal to allow inspection

 3 of the computer he used to delete the contents of the USB device and any of his other devices. See

 4 Hanada Decl. ¶¶ 6, 8-12. Once these efforts proved fruitless, Intel promptly sought the Court’s

 5 assistance.

 6              E.   Rivers Offers No Evidence That Expedited Discovery Would Be Burdensome.
 7                   Rivers submitted no evidence or explanation that the expedited discovery Intel

 8 requests would be burdensome. In fact, he does the opposite—he admits there would be no

 9 burden. Rivers complains about allegedly burdensome requests, but then asserts he “will not have

10 this information on his home computer.” Opp. at 4:6-7. If he will not have the requested

11 information in his personal possession, then there is no burden in responding to the discovery

12 requests by certifying that he has nothing to produce.

13                   The discovery requests are not burdensome unless Rivers has engaged in

14 misappropriation and dissemination of Intel’s information. For example, Request for Production

15 No. 1 asks for “All non-public, non-personal Intel documents in Your possession, custody, or

16 control that originated from an Intel server, an Intel computer, Your Intel laptop or email, or an

17 employee at Intel….” (This by its terms does not apply to joint venture information he obtained in

18 his new job at Micron because it only applies to Intel documents that came from an Intel server or
19 computer.) Request for Production No. 4 asks for “All documents reflecting or resulting from

20 Your use of the spreadsheet with the title “OrgTreeFlat_List.xlsx” (the list of Intel employee

21 names) that You downloaded from Intel on September 9, 2018….” As Rivers states in his

22 opposition, he should not have these documents on his home computer—or elsewhere in his

23 personal possession. Any burden claim should be a red flag, not a basis for denying the

24 application for expedited discovery.

25                   Rivers’ argument about privilege is unavailing. Only Rivers’ communications with

26 Micron lawyers representing him at the time would conceivably be privileged. All other

27 communications with Micron personnel, such as with his manager, would not be privileged. And

28 to the extent there is privileged information that is responsive, it can be logged.
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 1                 As for Rivers’ privacy concerns related to the inspection of the home computer, the

 2 parties already have an agreed upon third party forensics expert—Stroz Friedberg—and Intel has

 3 agreed to use that vendor and to work cooperatively with Rivers on a protocol that would protect

 4 any sensitive personal information. The parties did that for the USB device and Intel is confident

 5 the parties can agree on a protocol for the home computer and any other devices to which Rivers

 6 transferred Intel information. Further, the information from his home computer is highly relevant

 7 here—Intel submitted evidence about Rivers’ downloading of documents to a USB device,

 8 suspicious late-night activity indicative of transferring even more documents to the USB device,

 9 and destruction of evidence on the USB device. See Hanada Decl. ¶¶ 4-9, 15. Rivers admits that

10 he then inserted the USB device with the misappropriated documents into his home computer.

11 Rivers Decl. ¶ 18. Tellingly, he does not deny that he transferred confidential or trade secret

12 documents to that computer. In balancing of privacy interests against the potential relevance of

13 the information sought, the balancing supports the reasonable inspection sought by Intel.

14                 Relatedly, though Micron offered a declaration to support its burden argument,

15 there is no mention by Micron of any undue burden in conducting the searches it says it already

16 conducted. If any of the additional requests would pose an undue burden, Intel can meet and

17 confer with Micron to agree on the scope of the Micron subpoena search.

18 DATED: December 31, 2018                     Respectfully submitted,

19                                              MUNGER, TOLLES & OLSON LLP
20

21
                                                By:         /s/ Carolyn Hoecker Luedtke
22                                                   CAROLYN HOECKER LUEDTKE
                                                Attorneys for Plaintiff Intel Corporation
23

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